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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY                   )
AVERAGE WHOLESALE PRICE                          )   MDL No. 1456
LITIGATION                                       )   Civil Action No. 01-12257-PBS
                                                 )
THIS DOCUMENT RELATES TO:                        )   Hon. Patti B. Saris
                                                 )
U.S. ex rel. Ven-a-Care of the Florida Keys,     )   Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Inc.                )
No. 07-CV-11618-PBS                              )


       DECLARATION OF C. JARRETT ANDERSON SUBMITTING EXHIBITS
               IN SUPPORT OF PLAINTIFF’S RESPONSE TO
                    ABBOTT’S MOTION TO DISMISS


       I, C. Jarrett Anderson, do hereby declare as follows:

       1.      I am an attorney at law in the State of Texas and counsel for Plaintiff Ven-A-Care

of the Florida Keys, Inc. (“VAC”). I am a member in good standing with the State Bar of Texas.

I have been admitted pro hac vice before this Court and am in good standing.

       2.      On behalf of the Plaintiff VAC, I am submitting with this declaration Exhibits in

support of Plaintiff’s Response to Abbott’s Motion to Dismiss.

       3.      The following exhibits are true and correct copies of the materials described

therein and submitted with this declaration:

Exhibit No.     Description
1               Message from Abbott CEO, Miles White, displayed on Abbott website
2               Article referring to “PruCare” as HMO related to insurer, Prudential Healthcare


       I swear under the penalties of perjury that the foregoing statements are true and correct.

                                                      /s/ Jarrett Anderson   .




                                                       C. Jarrett Anderson
Executed this 2nd day of November, 2009


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I hereby certify that I have this day caused an electronic copy of the above DECLARATION
OF C. JARRETT ANDERSON SUBMITTING EXHIBITS IN SUPPORT OF
PLAINTIFF’S RESPONSE TO ABBOTT’S MOTION TO DISMISS to be served on all
counsel of record via electronic service pursuant to Paragraph 11 of Case Management Order
No. 2 by sending a copy to LexisNexis File & Serve for posting and notification to all parties.

Dated: November 2, 2009                       /s/ Jarrett Anderson        .




                                             C. Jarrett Anderson




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